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COUNSEL TO HUNTON ANDREWS KURTH LLP

                      IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

IN RE:                                    §
                                          §    Chapter 11
RINCON ISLAND LIMITED                     §
PARTNERSHIP,                              §    Case No. 16-33174-hdh-7
                                          §
         Debtor.                          §


HUNTON ANDREWS KURTH LLP,                 §
                                          §
         Plaintiff,                       §
                                          §    Adversary No. 18-03053-hdh
v.                                        §
                                          §
HVI CAT CANYON, INC., AND                 §
RILP-H, LLC.                              §
                                          §
         Defendants.                      §

                AGREED MOTION TO ABATE ADVERSARY PROCEEDING

     NO HEARING WILL BE CONDUCTED HEREON UNLESS A WRITTEN
RESPONSE IS FILED WITH THE CLERK OF THE UNITED STATES BANKRUPTCY
COURT AT 1100 COMMERCE ST., RM. 1254, DALLAS, TX 75242-1496 BEFORE
CLOSE OF BUSINESS ON JULY 2, 2018, WHICH IS AT LEAST 21 DAYS FROM THE
DATE OF SERVICE HEREOF.

     ANY RESPONSE SHALL BE IN WRITING AND FILED WITH THE CLERK,
AND A COPY SHALL BE SERVED UPON COUNSEL FOR THE MOVING PARTY



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PRIOR TO THE DATE AND TIME SET FORTH HEREIN. IF A RESPONSE IS FILED
A HEARING MAY BE HELD WITH NOTICE ONLY TO THE OBJECTING PARTY.

     IF NO HEARING ON SUCH NOTICE OR MOTION IS TIMELY REQUESTED,
THE RELIEF REQUESTED SHALL BE DEEMED TO BE UNOPPOSED, AND THE
COURT MAY ENTER AN ORDER GRANTING THE RELIEF SOUGHT OR THE
NOTICED ACTION MAY BE TAKEN.

TO THE HONORABLE HARLIN D. HALE, UNITED STATES BANKRUPTCY JUDGE:

        Plaintiff Hunton Andrews Kurth LLP (“HuntonAK”) and Defendants HVI Cat Canyon,

Inc. (“HVI”) and RILP-H, LLC (“RILP-H”, and together with HVI, the “Defendants”)

(HuntonAK and the Defendants, together, the “Parties”) file this Agreed Motion to Abate

Adversary Proceeding (the “Motion”), and in support respectfully show as follows:

                                 JURISDICTION AND VENUE

        1.      This Court has jurisdiction over the subject matter of this Motion pursuant to 28

U.S.C. § 157(b). Venue is proper in this district pursuant to 28 U.S.C. §§ 1408 and 1409.

                                     RELIEF REQUESTED

        2.      This Motion is filed by agreement of the Parties to this adversary proceeding.

        3.      The Parties have entered into a confidential settlement agreement to resolve all

issues in this adversary proceeding. The terms of the settlement agreement must be satisfied by

October 1, 2019, approximately eighteen (18) months from the date of this Motion.

        4.      To allow the Parties sufficient time to satisfy the terms of the settlement

agreement, the Parties agree that abating this adversary proceeding is the most efficient and

practical means of conserving resources in the interim.

        WHEREFORE, the Parties request that the Court (i) abate the above-styled adversary

proceeding, (ii) hold a status conference on a date to be determined in October 2019 upon




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request of the Parties, and (iii) grant such other and further relief as it may show itself to be justly

entitled.

Dated: June 11, 2018                                    Respectfully submitted,


                                                        By: /s/ David A. Zdunkewicz
                                                        Robin Russell
                                                        State Bar. No. 17424001
                                                        Michael D. Morfey
                                                        State Bar No. 24007704
                                                        David A. Zdunkewicz
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                                                        ATTORNEYS FOR HUNTON ANDREWS
                                                        KURTH LLP




                                  CERTIFICATE OF SERVICE

       I hereby certify that on June 11, 2018, a true and correct copy of the foregoing Motion
was served via e-mail on parties receiving Electronic Case Notifications in this proceeding.

                                                        /s/ David A. Zdunkewicz
                                                        David A. Zdunkewicz




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